Case 2:22-cv-00293-JRG         Document 599-1 Filed 02/16/24         Page 1 of 2 PageID #:
                                         59592


                            UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  NETLIST, INC.,                     )
                                     )
             Plaintiff,              )
                                     )            Case No. 2:22-cv-293-JRG
       vs.                           )
                                     )            JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS CO, LTD;       )            (Lead Case)
  SAMSUNG ELECTRONICS AMERICA, INC.; )
  SAMSUNG SEMICONDUCTOR INC.,        )            FILED UNDER SEAL
                                     )
            Defendants.              )
                                     )

  NETLIST, INC.,                            )
                                            )
               Plaintiff,                   )
                                            )
                                                  Case No. 2:22-cv-294-JRG
        vs.                                 )
                                            )
                                                  JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC.; MICRON           )
  SEMICONDUCTOR PRODUCTS, INC.;             )
  MICRON TECHNOLOGY TEXAS LLC,              )
                                            )
              Defendants.                   )
                                            )

         DECLARATION OF JASON G. SHEASBY IN SUPPORT OF NETLIST
       INC.’S REPLY IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY
          JUDGMENT ON SAMSUNG’S INVALIDITY DEFENSES (DKT. 343)




                                            -1-
Case 2:22-cv-00293-JRG          Document 599-1 Filed 02/16/24               Page 2 of 2 PageID #:
                                          59593


   I, Jason G. Sheasby, declare as follows:

           1.      I am an attorney at the law firm of Irell & Manella LLP, counsel of record for

   Plaintiff Netlist, Inc. (“Netlist”) in the above-captioned action. I am a member in good standing

   of the State Bar of California and have been admitted to practice pro hac vice before this Court in

   this action. I provide this declaration in support of Netlist’s Reply In Support of Its Motion for

   Partial Summary Judgment on Samsung’s Invalidity Defenses (Dkt. 343). I have personal

   knowledge of the facts stated herein, and could and would testify completely thereto if called as

   a witness in this matter.

           2.      Attached as Exhibit 4 is a true and correct copy of the Order denying the request

   for Director Review of the Board’s Decision Granting Institution in IPR2023-00847, dated

   January 31, 2024.

           I declare under penalty of perjury under the laws of the United States of America that

   the foregoing is true and correct.

           Executed on February 7, 2024, in Los Angeles, California.

                                                        By /s/ Jason G. Sheasby
                                                            Jason G. Sheasby




                                                  -2-
